Case 1:05-cv-01062-.]DT-STA Document 10 Filed 04/26/05 Page 1 of 4 Page|D 1

Fll"c-D BY_________` nc
IN THE uNITED sTATEs DIsTRICT CoURT ‘
FoR ms WESTERN DISTRICT oF TENNESSEES APR 25 Pn 3= 31.
EASTERN olvtsloN pig.@@;; §§ mow

r~..¢ ,.,.

ct lt
i'\ -.)t Jc> D
W-U 'i'-_`- l`tt.-.J.QC?STOHI
HARVEL LEE WALKER and
NANCY JEAN WALKER,

Plaintiffs,
VS. No. 05-1062-T/An
ROGER L, DEPOYSTER, ROBERT T.
MARVIN, WILLIAM J. ANDERSON,
and TENNESSEE VALLEY
AUTHORITY,

Defendants.

\-/\-/\~_/\-_/\_/\_/\_/\_/\_/\_/\_/\_/\_J

 

ORDER GRANTING MOTION TO DISMlSS DEFENDANT DEPOYSTER

 

This action arises out of a motor vehicle accident that occurred on February 18, 2004
in Perry County, Tennessee. The plaintiffs, Harvel Lee Walker and Nancy Jean Walker,
filed the action in the Circuit Court of Perry County on February l 1, 2005 against Roger L.
Depoyster and his employer, the Tennessee Valley Authority “(TVA”), Robert T. Marvin
and William J. Anderson. On March 4, 2005, TVA removed the case to this Court.
Depoyster filed a motion to dismiss on March 10, 2005. Plaintiffs have not responded to the
motion.

A motion to dismiss under Rule 12(b)(6) tests whether a claim has been adequately

stated in the complaint Rule S(a) requires the pleader to set forth a short and plain statement

Thls document entered on the docket sheet in compliance
with Rute 58 endfor 79 (a) FRCP on \

Case 1:05-cv-01062-.]DT-STA Document 10 Filed 04/26/05 Page 2 of 4 Page|D 2

of the claim showing an entitlement to relief. In evaluating a motion to dismiss under Rule
12(b)(6), all allegations in the complaint are taken as true and the complaint is construed
liberally in favor of the party opposing the motion to dismiss Westlake v. Lucas, 537 F.Zd
857, 858 (6th Cir. 1976). A motion to dismiss under Rule 12(b)(6) is appropriate only “if it
is clear that no relief could be granted under any set of facts that could be proved consistent
With the allegations.” Hishon v. King & Spaulding, 467 U.S. 69, 73 (1984) (citing Co_nley
v. Gibson, 355 U.S. 41, 45-46 (1957)); Allard v. Weitzman (In re Delorean Motor Co. l, 991
F.2d 1236, 1240 (6"‘ Cir. 1993).

Section nine of the Federal Employees Liability Reforrn and Tort Compensation Act
grants TVA employees immunity from personal liability for common law torts committed

within the scope of their employment 16 U.S.C. § 831c-2; see also Hill v. Tennessee Valley

 

Au_th., 842 F. Supp. 1413, 1417 (N.D. Ala. 1993). The statutory mechanism provides that
upon a certification by TVA that the employee was acting within the scope of his
employment at the time of the incident giving rise to the claim, the claim must be deemed
one brought against TVA. § 831c-2(b)(1)-(2). An action against the individual employee
is precluded:

(a) Exclusiveness of remedy
(l) An action against the Tennessee Valley Authority for injury or loss
of property, or personal injury or death arising or resulting from the
negligent or wrongful act or omission of any employee of the
Tennessee Valley Authority while acting within the scope of this office
or employment is exlusive of any other civil action or proceeding by
reason of the same subject matter against the employee or his estate
whose act or omission gave rise to the claim. Any other civil action or

2

Case 1:05-cv-01062-.]DT-STA Document 10 Filed 04/26/05 Page 3 of 4 Page|D 3

proceeding arising out of or relating to the same subject matter against
the employee or his estate is precluded without regard to When the act
or omission occurred.

§ 83 lc-z(a)(i).

In this case, TVA has certified that Depoyster was acting within the scope of his
employment at the time of the accident on February 18, 2004. Therefore, the plaintiffs’
claims based on Depoyster’ s alleged negligence, wrongful acts or omissions must be brought
against TVA exclusively, and the claims against Depoyster individually must be dismissed

Accordingly, the motion to dismiss the plaintiffs’ claims against defendant Roger L.

Depoyster with prejudice is hereby GRANTED.

IT IS SO ORDERED.

A.Qi/M\

JA D. TODD
UN ED STATES DISTRICT JUDGE

` aaas/

 

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case l:05-CV-01062 was distributed by faX, mail, or direct printing on
Apri128, 2005 to the parties listed.

 

 

Maureen H. Dunn

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

Knoxville7 TN 37902--140

William S. Fleming

FLEl\/[[NG FLYNN & 1\/[URPHY7 PC
P.O. Box 90

Columbia, TN 38402--009

Bobby A. McGee

LAW OFFICE OF BOBBY A. MCGEE
P.O. Box 327

Linden, TN 37096

Daniel Mark Nolan

BATSON NOLAN BRICE & WILLIAMSON
121 S. Third St.

Clarksville, TN 37040

Thomas A. Robins

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

Knoxville7 TN 37902--140

Edwin W. Small

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

Knoxville7 TN 37902--140

Honorable .l ames Todd
US DISTRICT COURT

